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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 TERRI SLAUGHTER-CABBELL, et al..
                       Plaintiff,                   CIVIL ACTION FILE
 vs.                                                NO. 1:11-cv-4311-WSD
 RYLA TELESERVICES, INC.,
                       Defendant.


                                    JUDGMENT

       This action having come before the court, Honorable William S. Duffey, United
States District Judge, for consideration of Motion for Award of Attorneys' Fees, and the
court having granted said motion, it is
       Ordered and adjudged that Plaintiffs recover from Defendant reasonable
attorney's fees in the amount set forth in the Memorandum of Law in Support of
Plaintiffs' Unopposed Motion For Attorneys' Fees and Litigation Expenses.
       Dated at Atlanta, Georgia this day of January, 2013.

                                                JAMES N. HATTEN
                                                CLERK OF COURT



                                           By: /s/ K. Thornton
                                               Deputy Clerk
Prepared, filed, and entered
in the Clerk's Office
    January 3, 2013
James N. Hatten
Clerk of Court


By: /s/ K. Thornton
        Deputy Clerk
